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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                     NORTHERN DIVISION

CHARLES W. RUE                                               PLAINTIFF
#48738

v.                        No: 3:20-cv-279 DPM

KEITH BOWERS, Admin, Craighead County
Detention Center                                          DEFENDANT

                                ORDER
     1. The Court withdraws the reference.

     2. Rue hasn't paid the filing and administrative fees or filed a
complete application to proceed in forma pauperis; and the time to do so
has passed. Doc. 3. His complaint will therefore be dismissed without
prejudice. LOCAL RULE 5.5(c)(2). An in forma pauperis appeal from this
Order and accompanying Judgment would not be taken in good faith.
28 U.S.C. § 1915(a)(3).
     So Ordered.


                                       D .P. Marshall Jr.
                                       United States District Judge
